          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:09CR13


UNITED STATES OF AMERICA                    )
                                            )
                                            )
                  VS.                       )         ORDER
                                            )
                                            )
CAMILO FIGUEROA LEON                        )
                                            )


      THIS MATTER is before the Court on the Defendant’s motion for

admission pro hac vice of Michael Robert Friedman, to appear as counsel

in this matter.

      Upon careful review and consideration,

      IT IS, THEREFORE, ORDERED that Defendant’s motion is

ALLOWED, and Michael Robert Friedman is hereby granted special

admission to the bar of this Court, payment of the admission fee having

been received by the Clerk of this Court.

                                     Signed: August 13, 2009




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